Jocilyn B. Oyler, SC# 22229
Legal Counsel
Kansas Department of Corrections
714 SW Jackson St, 2nd Floor
Topeka, KS 66603
Tel: 785.940.1124
Fax: 785.296.0014
Jocilyn.Oyler1@ks.gov

                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

DERON MCCOY II, #76894                         )
                                               )
                    Plaintiff,                 )
                                               )      Case No. 21-CV-03269-SAC
             v.                                )
                                               )
ARAMARK, et al                                 )
                                               )
                    Defendants.                )



     MOTION FOR EXTENSION OF TIME TO FILE MARTINEZ REPORT

      COMES NOW, the Kansas Department of Corrections (KDOC) as an interested

party, through counsel, Jocilyn B. Oyler, and moves this Court for an order extending the

time to file the Martinez Report ordered by the Court in this matter. In support of this

Motion, KDOC states as follows:

1.    The Martinez Report is currently due July 27, 2022.

2.    Counsel has completed the Martinez Report for the Court.

3.    KDOC is waiting on certificates from outside vendors that will be provided as

      exhibits in the Martinez Report.
4.     This is KDOC’s second request for an extension. The request is made in good faith

and not for undue delay or vexatious purpose.

       WHEREFORE, KDOC requests a two (2) day extension, or until July 29, 2022, to

file the Martinez report ordered in this cause.



                                                         Respectfully Submitted,

                                                        /s/ Jocilyn B. Oyler
                                                        Jocilyn B. Oyler, SC# 22229
                                                        Legal Counsel
                                                        Kansas Department of Corrections
                                                        714 SW Jackson St, 2nd Floor
                                                        Topeka, KS 66603
                                                        Tel: 785.940.1124
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                                                        Jocilyn.Oyler1@ks.gov


                             CERTIFICATE OF SERVICE
I hereby certify that on the 27th day of February, 2022, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system, which will send a notice of
electronic filing to the following:
Natasha Carter
Chief Legal Counsel
Kansas Department of Corrections
714 SW Jackson St., Suite 300
Topeka, Kansas 66603

I hereby certify that a true and correct copy of the foregoing was sent via United States
Postal Service mail on this 27th day of July, 2022 to:

DeRon McCoy
El Dorado Correctional Facility
P.O. Box 311
El Dorado, Kansas 67042                                  /s/ Jocilyn B. Oyler
                                                          Jocilyn B. Oyler, SC #22229
